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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                           CASE NO. 1:15-CR-00272 AWl BAM
11
     Plaintiff                                           PROTECTIVE ORDER REGARDING
12                                                       DISCOVERY RELEASED TO DEFENDANT
     v.                                                  JOSEPH ATTAWAY
13
     JOSEPH AITAWAY,
14
     Defendant
15

16
17                   PROTECTIVE ORDER REGARDING DISCOVERY RELEASED

18                                  TO DEFENDANTJOSEPH ATTAWAY

19           Upon oral motion of the United States, the Court finds and orders as follows:

20           1.     This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

21   Criminal Procedure, and its general supervisory authority.

22           2.     This Order pertains to all recordings and statements of witnesses provided to or made

23 available to Defendant Attaway and/or his stand-by counsel as part of discovery in this case or to

24 comply with trial obligations pursuant to Title 18, United States Code, Section 3500 (the Jenck's Act),

25 or to comply with Brady and Giglio obligations.

26           3.     The government shall provide discovery directly to Defendant Attaway, and shall also

27 provide copies of the same to appointed stand-by counsel. Defendant Attaway and appointed stand-by

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       PROTECTIVE ORDER
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     counsel agree not to share any recordings, documents or statements of witnesses with anyone other than

 2 designated defense investigators and support staff.

 3          4.      Defendant Attaway and appointed stand-by counsel shall not disclose the identity of any

 4 witness or any information that may lead to the identification of the witnesses.

 5          5.      The discovery and information provided by the Government may only be used in

 6 connection with the litigation of this case and for no other purpose. The discovery is now and will

 7   forever remain the property of the United States Government. Defendant Attaway and appointed stand-

 8 by counsel shall return the discovery to the Government or certify that it has been shredded at the

 9 conclusion ofthe case.

10          6.      Defendant Attaway and appointed stand-by counsel shall store the discovery in a secure

11 place and shall use reasonable care to ensure that it is not disclosed to third persons in violation of this

12 agreement.

13          7.      Defendant Attaway and appointed stand-by counsel shall be responsible for advising his

14 respective employees, other members of the defense team, and defense witnesses of the contents of this

15 Order.

16          8.      In the event that the new stand-by counsel is appointed, undersigned stand-by counsel

17 agrees to withhold discovery from new counsel unless and until substituted counsel agrees also to be

18 bound by this Order.

19          IT IS SO ORDERED.
20
21   DATED:
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      PROTECTIVE ORDER
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